           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 1 of 57




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

           UNITED STATES OF AMERICA :
                                    :
                    v.              :                    CRIMINAL ACTION FILE
                                    :                    NO. 1:09-CR-00361-RWS-AJB
           JOSE EDENILSON-REYES,    :
                                    :
                        Defendant.  :

                                   ORDER FOR SERVICE OF
                                REPORT AND RECOMMENDATION

                 Attached is the Report and Recommendation (“R&R”) of the United States

           Magistrate Judge made in accordance with 28 U.S.C. § 636(b)(1) and

           N.D. Ga. CrR. 58.1(A)(3)(a), (b). A copy of the R&R and this order shall be served

           upon counsel for the parties.

                 Pursuant to 28 U.S.C. § 636(b)(1), each party may file written objections to the

           R&R within fourteen (14) days of service of this Order. Should objections be filed,

           they shall specify with particularity the alleged error(s) made (including reference by

           page number to the transcript if applicable) and shall be served upon the opposing

           party. See United States v. Gaddy, 894 F.2d 1307, 1315 (11th Cir. 1990). The party

           filing objections will be responsible for obtaining and filing the transcript of any

           evidentiary hearing for review by the District Court. If no objections are filed, the




AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 2 of 57




           R&R may be adopted as the opinion and order of the District Court and any appellate

           review of factual findings will be limited to a plain error review. United States v. Slay,

           714 F.2d 1093 (11th Cir. 1983).

                 Pursuant     to   18    U.S.C.    §   3161(h)(1)(H),     the    above-referenced

           fourteen (14) days allowed for filing objections is EXCLUDED from the

           computation of time under the Speedy Trial Act (“the Act”), whether or not

           objections are actually filed. If objections to this R&R are filed, the Clerk is

           DIRECTED to EXCLUDE from the computation of time all time between the filing

           of the R&R and the submission of the R&R, along with any objections, responses and

           replies thereto, to the District Judge. 18 U.S.C. § 3161(h)(1)(D), (H); Henderson v.

           United States, 476 U.S. 321, 331 (1986); United States v. Mers, 701 F.2d 1321, 1337

           (11th Cir. 1983). The Clerk is DIRECTED to submit the R&R with objections, if any,

           to the District Court after expiration of the above time period.

                 IT IS SO ORDERED and DIRECTED, this 25th day of October , 2010.




                                                   ALAN J. BAVERMAN
                                                   UNITED STATES MAGISTRATE JUDGE




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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 3 of 57




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

           UNITED STATES OF AMERICA :
                                    :
                    v.              :                   CRIMINAL ACTION FILE
                                    :                   NO. 1:09-CR-00361-RWS-AJB
           JOSE EDENILSON-REYES,    :
                                    :
                        Defendant.  :

                             UNITED STATES MAGISTRATE JUDGE’S
                             FINAL REPORT AND RECOMMENDATION

                 Currently before the Court are Jose Edenilson-Reyes’ Preliminary Motion to

           Suppress Search and Seizure and Statements Made by the Defendant, [Doc. 175], and

           Particularized Motion to Suppress Search and Seizure and Statements Made by

           Defendant, [Doc. 188]. The Court held an evidentiary hearing concerning these

           motions on July 22, 2010, [see Docs. 277, 282 (hereinafter “T1:__”)], and on July 27,

           2010, [see Docs. 279, 283 (hereinafter “T2:__”)]. Following the evidentiary hearing,

           the   parties   filed   briefs.   [Docs. 285 (Government), 287 (Defendant),

           289 (Government)].          For the reasons discussed below, the undersigned

           RECOMMENDS that the defendant’s motions, [Docs. 175, 188], be DENIED.




AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 4 of 57




                 Introduction

                 On July 29, 2009, a grand jury returned a seven-count indictment, [Doc. 42],

           which was then superseded on August 25, 2009, by an eight-count superseding

           indictment [Doc. 82]. This superseding indictment charged sixteen individuals,

           including Jose Edenilson-Reyes (“Reyes” or “the defendant”). The defendant was

           charged in two of the eight counts as follows: (1) conspiracy to launder money, in

           violation of 18 U.S.C. § 1956(h) (Count 4); and (2) money laundering, in violation of

           18 U.S.C. §§ 2, 1956(a)(2)(A) (Count 5).1 [Doc. 10]. The defendant then filed a

           preliminary motion to suppress evidence and statements, [Doc. 175], which was

           followed by a particularized motion to suppress, [Doc. 188]. In these motions, the

           defendant seeks to suppress evidence and statements from a September 3, 2008, traffic

           stop because of alleged violations of his Fourth and Fifth Amendment rights.

           [See Docs. 175, 188]. The undersigned held an evidentiary hearing on the motions to

           suppress on July 22, 2010, [Docs. 277, 282], and on July 27, 2010, [Docs. 279, 283].

           The government filed its post-hearing brief on August 31, 2010, [Doc. 285], and the




                 1
                           The superseding indictment also contains a forfeiture provision. [See Doc.
           82 at 12-16].

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 5 of 57




           defendant filed a response on September 10, 2010, [Doc. 287]. The Government then

           filed a reply on September 21, 2010. [Doc. 289].

                 Facts

                 A.      Investigation of Mexican Drug Organization

                 Michael Blevins, a Narcotics Detective with the Lawrenceville, Georgia, Police

           Department and a Task Force Officer with the U.S. Drug Enforcement Administration

           (“DEA”), began investigating a Mexican-based drug trafficking organization in

           November 2007. T1:8, 9-10. Blevins, as co-case agent of the investigation, initiated

           the first wiretap in February 2008. T1:10. During the course of the investigation, the

           DEA learned about an unidentified male, known as “Daniel,” who was the head of the

           Atlanta-based cell of the Mexican organization. T1:10. Around August 26, 2008, law

           enforcement sought and received authorization to tap Daniel’s phones. T1:45. The

           operation run by Daniel operated as follows: drugs would be transported from Mexico

           to Atlanta; the narcotics would be turned over to Daniel who would distribute the

           narcotics in Atlanta and to other States; and Daniel would collect the proceeds and

           coordinate their delivery to Texas. T1:10-11. As of September 3, 2008, Blevins’




                                                     3


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 6 of 57




           investigation had not led to the seizure of either drugs or money from Daniel’s

           organization. T1:46.2

                 B.     Surveillance on September 3, 2008

                 On September 3, 2008, Blevins along with other officers had set up surveillance

           at Daniel’s apartment in Lawrenceville. T1:12. Also on this date, the DEA was

           monitoring Daniel’s phone calls pursuant to the court authorized wire tap.3 T1:12-13.

           Through the wire tap, the agents learned that currency would be turned over to a truck

           driver. T1:13. Specifically, at 3:36 p.m., Daniel phoned an individual (later identified

           as the defendant) who informed Daniel that he wanted to meet at a “quiet” industrial

           park at I-285 and Hollowell Parkway. T1:14. At 5:29 p.m., Daniel confirmed the

           location and advised the defendant that he was heading over to the location. T1:15-16.

           Daniel contacted Reyes at 6:23 p.m. to advise him that “the guy” would be ready, who

           the officers believed was a runner for Daniel. T1:16. Daniel called Reyes at 7:06 p.m.

           to indicate that the runner was almost there and to confirm the location. T1:16-17. At

           7:16 p.m., Reyes provided directions to Daniel as to his precise location in the


                 2
                       Blevins’ investigation did reveal other targets who used similar locations
           and means to unload drugs that arrived by tractor trailer. T2:29-31.
                 3
                        The phone calls were being monitored by Spanish-speaking DEA
           contractors who were in contact with the agents over the phone. T1:13.

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 7 of 57




           industrial park. T1:17. At this time, Daniel indicated that his runner would be in a gray

           car, which surveillance identified as a gray Volkswagen Jetta, and Reyes revealed that

           he was in a red tractor trailer. T1:18.

                 After Daniel’s first phone call to the defendant, most of the officers moved to a

           Petro Station at Hollowell Parkway and I-285 around 4:45 p.m. T1:12. Law

           enforcement also began performing surveillance by helicopter, whose passenger - -

           Mark Floyd, an observer4 in the aviation wing of the DEA - - was in radio contact with

           the ground surveillance. T1:18, 19, 47, 54. At 7:18 p.m., Floyd indicated that the silver

           Jetta had pulled along side of the truck and had placed a dark-colored suitcase into the

           driver’s side of the truck cab. T1:20, 49. Floyd’s view was obstructed by the tree line.

           T1:49; see also Aerial footage at 9:58-10:37 in Gov’t Exh. 1. The transfer lasted less

           than a couple of minutes. T1:37, 50.

                 At 7:26 p.m., Daniel called Reyes to see if he was set, and Reyes indicated that

           he had received it. Reyes asked Daniel how many “popsicles” were delivered, and

           Daniel advised that there should be 39. T1:21; T2:31; see also Line Sheet at Def’t

           Exh. 1(i). Blevins believed that Daniel and the defendant were discussing the number


                 4
                        An observer shoots video, takes still photography, and reports surveillance
           from the air. T1:48.

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 8 of 57




           of bundles of money in the suitcase. T1:22. One minute later, another intercept

           revealed Daniel, who was speaking to a female, confirming that there were

           39 envelopes, one of which was payment. T1:22. The conversations between Reyes

           and Daniel did not refer to narcotics. T1:34.

                 Blevins relayed the information to several Georgia State Patrol officers about the

           intercepted telephone calls, the suitcase exchange, the presence of 39 bundles, and the

           description of the truck. T1:22-23, 24. Blevins requested that the state patrol conduct

           a traffic stop based on independent probable cause and try to get consent to search the

           truck. T1:23, 24, 43. Blevins indicated that there should not be any arrest unless it was

           necessary. T1:24.

                 C.     Traffic Stop

                 James Thompson of the Georgia State Patrol was assigned to assist the DEA with

           the traffic stop. See T1:60. Thompson was told that the truck was transporting drug

           proceeds. T1:61. Thompson positioned his patrol car in the median on I-20 beneath

           a bridge. T1:61; see also Aerial footage at 53:02 in Gov’t Exh. 1; T1:65. The driver’s

           side window of his patrol car was down. T2:17. Thompson learned of the truck’s

           identity when it was passing his patrol car and when he “pulled out on it.” T1:63. As




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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 9 of 57




           the truck passed the patrol car, Thompson heard the “wheels pounding,”5 which was a

           “strong indication” of a tire violation, meaning that the truck tires did not have

           sufficient tread. T1:63, 66. At this time, Thompson was approximately 12 feet away

           from the truck as it passed. T1:64. He immediately pulled out after the truck passed,

           and he slowly caught up to the truck. T1:66, 67.

                 Blevins, who was in a black Toyota 4Runner, followed the defendant on I-206

           and eventually positioned the Toyota in front of the defendant’s truck as the truck

           approached the state patrol. T1:25; see also Aerial Footage at 53:24-53:44 in Gov’t

           Exh. 1. Thompson was unaware that there was an agent in the 4Runner as the truck and

           4Runner passed him. T1:66. As Thompson was driving along side the truck to visually

           determine whether the tires were running smoothly, Thompson noticed that the




                 5
                        Thompson explained that legally compliant tires would make a smooth
           sound on the road whereas a noncompliant tire would make a pounding noise at it
           traveled over the road. T1:63-64. Thompson also indicated that stops for tire
           violations were common because noncompliant tires would shred and leave debris in
           the roadway. T1:65.
                 6
                        The aerial surveillance on the truck was continuous from the time of the
           transfer with the silver Jetta to the time of the traffic stop. See T1:52-53; see also
           Aerial footage at 10:38-55:18.

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 10 of 57




           defendant was driving too close to the 4Runner. T1:68; see Aerial Footage at 54:14-

           54:34 in Gov’t Exh. 1.7

                 Thompson then stopped the defendant’s truck at approximately 8:09 p.m.

           T1:41, 69-70. As Thompson approached the cab, the defendant exited the truck and

           met Thompson. T1:71. When the defendant asked why he had been stopped,

           Thompson told him that he was following too closely and that he had a tire issue.

           T1:71-72. Thompson initially indicated that the defendant was driving too close. See

           Traffic Stop Video (“Gov’t Exh. 2”) at 1:51-2:08. Thompson had the defendant return

           to the truck because Thompson needed his insurance and registration. Thompson also

           asked to see the bill of lading and the logbook. T1:71. Approximately, one minute

           later, he told the defendant that his tires were “beating” and indicated the reason why.

           Gov’t Exh. 2 at 2:54-3:00.

                 Thompson moved the defendant in front of the patrol car and examined the

           defendant’s paper work and asked him questions about the truck’s load, the trucking

           business, and his family. T1:76-77; Gov’t Exh. 2 at 3:06-7:40. Thompson did not


                 7
                         Once Agent Blevins pulled in front of the defendant’s truck, Blevins drove
           at what appears to be a normal speed, see Aerial Footage at 53:41-54:10 in Gov’t Exh.
           1, before noticeably slowing down the 4Runner as Trooper Johnson approached, see
           id. at 54:15-54:33.

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 11 of 57




           handcuff or restrain the defendant. T1:77. The defendant spoke decent English and

           understood Thompson. T1:79; see generally Gov’t Exh. 2.

                 Thompson examined the tires as he approached the passenger side of the truck.

           T1:79. When backup arrived, Thompson also examined the tires on the driver’s side.

           T1:80; Gov’t Exh. 2 at 7:42-8:19. The truck had two bad tires, one on each side of the

           cab, which were very “slick,” meaning that there were flat spots without any tread on

           the tire. T1:80, 81; see also Gov’t Exhs. 3-4.

                 Two other officers arrived at the scene - - Trooper Jeater and Sergeant Mark

           Mitchell. T1:84. They both arrived in separate cars, so there were three officers and

           three patrol cars present. T2:8. Also, there was a K-9 present. T2:9. The cars were

           all behind the truck, and the officers were all armed. T2:9. After these other officers

           arrived, Thompson entered his patrol car to run the license and registration, to check

           the defendant’s criminal status through BLOC,8 and to start working on the paperwork.

           T1:85, 86, 87; see also Gov’t Exh. 2 at 9:16-19:14. Thompson had to wait for a

           response from BLOC. T1:86. While Thompson was in the car, the defendant was in

           front of the vehicle with Trooper Jeater standing next to him. T1:86.

                 8
                         BLOC is an acronym for Blue Lighting Operation Center, which provides
           information concerning border crossings, criminal histories, and investigations about
           the driver or the truck. T1:86.

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 12 of 57




                 When Thompson exited his patrol car, he gave the defendant his documents,

           asked the defendant questions, and worked on filling out a ticket for the tire violations

           and a warning for following too closely. T1:88, 90; see also Gov’t Exh. 2 at 19:26-

           24:06; Exh. 5 (ticket), Exh. 6 (warning). Thompson asked about, and the defendant

           denied, the presence of explosives, firearms, a large amount of currency, and narcotics

           in the truck. Gov’t Exh. 2 at 23:26-23:55. At 24 minutes into the stop, BLOC called

           Thompson to inform him that the defendant did not have a criminal history, but that the

           defendant and the truck had made a recent border crossing. T1:91; Gov’t Exh. 2 at

           24:02-25:15.

                 At 29 minutes into the traffic stop, Thompson sought the defendant’s request to

           search the truck immediately after issuing a ticket and warning and returning the

           documents to the defendant. T1:91-92; Gov’t Exh. 2 at 29:30. The defendant provided

           verbal and written consent. T1:92; Gov’t Exh. 2 at 29:33-29:38; 29:48-31:02. The

           defendant signed a Spanish-language version of the Georgia State Patrol Consent to

           Search form. T1:92; Gov’t Exh. 7.9 Before signing the form, the defendant looked

                 9
                         The English version of the consent form, which was correctly translated
           into Spanish, T1:93, provided that: (1) the defendant gave his consent to the officers on
           the scene to search the vehicle, including the luggage and containers and including the
           removal of suspicious panels or components; (2) the defendant had the right to refuse
           to consent; and (3) the consent was not made through threats, force, or promises. See

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 13 of 57




           over it long enough to suggest that he was reading it. T1:93; Gov’t Exh. 2 at 30:23-

           31:00. Thompson also informed the defendant that if he did not understand the form,

           he should not sign it, but that if he understood the form, he should go ahead and sign.

           T1:93; Gov’t Exh. 2 at 30:03-30:17. The defendant appeared to understand the form,

           and he did not appear to be under the influence of drugs or alcohol. T1:94. Thompson

           backed away from the defendant while he reviewed the form and pointed a flashlight

           at the form so that the defendant could read and sign the form. T1:94; Gov’t Exh. 2 at

           30:23-31:02. No one at the scene made promises, displayed weapons, made threats, or

           spoke in abusive tones. T1:96; Gov’t Exh. 2 at 29:33-31:02.

                 A search of the truck revealed a suitcase containing bundles10 of United States

           currency that was situated on the bottom bunk in the sleeper area of the cab. T1:97;

           Gov’t Exhs. 10-11. After finding the suitcase, Thompson and Mitchell approached the

           defendant and asked him a series of questions about the suitcase in front of the patrol

           car while Trooper Jeater stood to the side of the defendant. See Gov’t Exh. 2 at 34:29-

           37:32. The defendant was standing and leaning against the patrol car’s hood. He was



           Gov’t Exh. 7.
                 10
                       Ultimately, the officers counted 39 bundles of money in the suitcase. See
           Gov’t Exh. 2 at 1:13:23-1:13:29, 1:14:28-1:14:30.

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 14 of 57




           not restrained or handcuffed. T1:101. The defendant indicated that he did not know

           what was in the suitcase and that the suitcase did not belong to him. T1:101-02. He

           also denied owning the money when it was shown to him. T1:110. He stated that he

           received the suitcase from an individual at the plant where he picked up the truck’s load

           and was transporting the suitcase for the individual to Laredo, Texas. T1:104.

           Thompson did not yell at the defendant or threaten him while asking about the suitcase.

           T1:102. The officers did not unholster or point their weapons at him. T1:102. The

           officers did not touch the defendant or make promises to him. T1:103. The defendant

           did not ask to leave or indicate that he would not answer the questions, and he instead

           seemed willing to answer questions. T1:103-04; see also Gov’t Exh. 2 at 34:29-35:53;

           36:10-37:29, 49:36-49:55, 56:18-56:21; 1:02:50-1:04:58.

                 After the initial round of questions, the defendant asked to get his cigarettes, and

           Thompson said that he would get them for the defendant. See Gov’t Exh. 2 at 37:30-

           34. When the defendant asked to get his phone to call his wife, Thompson responded,

           “No phone yet,” but Thompson indicated that the defendant would be allowed to get

           his phone Id. at 37:35-37:44. Thompson added that at that time, he did not see

           anything that the defendant would go to jail for. Id. at 37:44-37:47. Also, after the

           currency was found, the officers photographed the defendant, id. at 40:33-40:40, 41:03-

                                                      12


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 15 of 57




           41:13, and his documents, id. at 42:50-43:12. When the suitcase was placed on the

           hood of the patrol car, the officers directed the defendant to stand in front of the camera

           and asked him about the suitcase. Id. at 49:37-49:55. Additionally, the officers

           retained items from the defendant’s pockets. Id. at 57:51-58:33.

                 After verbally disclaiming the currency, the defendant read and signed the

           Spanish-language version of the Georgia State Patrol disclaimer form. T1:105-06;

           Gov’t Exh. 1:05:10-1:05:59; Gov’t Exh. 13.11 The officers explained that the form

           stated that the currency did not belong to him. Gov’t Exh. 2 at 1:05:07-1:05:17. The

           defendant signed the disclaimer form one hour and five minutes after the stop had

           begun. Gov’t Exh. 2 at 1:05:58-59.

                 The traffic stop lasted an hour and eighteen minutes. See Gov’t Exh. 2 at

           1:18:00. Prior to its termination, Thompson gave the defendant his “receipt,” returned

           the defendant’s “stuff,” and asked if he had any questions. Gov’t Exh. 2 at 1:15:17-

           1:15:25. The defendant then asked if someone would help him cut a deal or something.


                 11
                         Like the consent to search form, the disclaimer form had both English and
           Spanish versions. The English version, which was accurately translated into Spanish,
           T1:106, indicated that: (1) the defendant disclaimed any interest in the undetermined
           amount of currency that the patrol had seized; (2) the defendant waived the right to
           notice of or to plead or answer in the forfeiture action; and (3) the defendant had read,
           understood, and voluntarily accepted the terms in the form. See Gov’t Exh. 13.

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 16 of 57




           Gov’t Exh. 2 at 1:15:30-1:15:34. Thompson told the defendant to call the local

           authorities when he returned to Texas and that the patrol officers did not know anyone

           who could help him. Id. at 1:15:44-1:16:30. At the end of the stop, the defendant was

           allowed to drive away with his ticket and warning. T1:108; Gov’t Exh. 2 at 1:17:15-

           1:18:12.

                 Discussion

                 The defendant seeks to suppress evidence uncovered and statements made during

           the September 3, 2008, traffic stop by the Georgia State Patrol. [See Docs. 175, 188].

           The parties’ post-hearing briefs raise the following issues: (1) whether the Title III

           intercepts provided independent probable cause to stop and search the truck;

           (2) whether Officer Thompson had reasonable suspicion or probable cause to stop the

           defendant’s truck for traffic violations; (3) whether the stop was impermissibly

           prolonged; (4) whether the defendant voluntarily consented to the search of the truck;

           (5) whether the defendant disclaimed any interest in the seized suitcase and money; and

           (6) whether the defendant’s statements were made in violation of Miranda. [See

           Docs. 285, 287]. These six issues are addressed separately below.




                                                     14


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 17 of 57




                 A.     Title III Intercepts, Traffic Stop, and Search

                 The government argues that the wire tap evidence provided probable cause for

           law enforcement to stop and search the defendant’s truck, pointing to the following

           evidence: (1) the content of the telephone intercepts between Daniel and the defendant,

           including the quiet pickup area, the use of code words, and the money counter sound

           in the background; (2) the DEA surveillance revealing an exchange in the industrial

           park; and (3) the post-drop off calls where the defendant asked about the number of

           packages in coded language. [Doc. 285 at 17-18]. The government next argues that

           although law enforcement had not seized drugs or money from the Daniel organization,

           there is other evidence indicating that illegal activity was to occur on September 3,

           including: (1) the District Court’s decision to authorize the interception of Daniel’s cell

           phone conversations; (2) the DEA’s reasons for believing that Mexican-based

           trafficking organizations were using trucks to transport drugs and money; and (3) the

           intercepted conversation’s use of code words and reference to a quiet location.

           [Id. at 18-20].

                 The defendant argues that the intercepts and surveillance did not provide

           probable cause to stop and search the truck for three reasons. First, he contends that the

           intercepts themselves are unhelpful because they do not mention money or drugs and

                                                       15


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 18 of 57




           they are not tied to any evidence of Daniel’s involvement in drugs before September

           2008. [Doc. 287 at 1]. Second, the defendant contends that the surveillance was

           insufficient because there was no evidence as to what was actually transferred or that

           law enforcement witnessed any inherently incriminating behavior. [Id. at 2]. Third, the

           defendant asserts that there was nothing to tie Daniel to illegal drug activity at the time

           of the surveillance in September 2008. [Id. at 2-4].

                 The government responds that there was a link between Daniel and the drugs as

           demonstrated by the District Court’s authorization to intercept Daniel’s telephone calls.

           [Doc. 289 at 1]. The government also argues that there was a fair probability that the

           defendant’s vehicle would contain contraband because: (1) law enforcement was aware

           that drug traffickers were using trucks; (2) the intercept indicated that the defendant

           was speaking about the delivery of “popsicles” and a quiet location; and

           (3) surveillance corroborated the phone calls. [Id. at 2].

                 The Fourth Amendment protects the right of persons to be free from

           unreasonable searches and seizures. U.S. Const. Amend. IV. A traffic stop is “a

           seizure within the meaning of the Fourth Amendment,” and is constitutional if it is

           based on either probable cause or reasonable suspicion. United States v. Spoerke,

           568 F.3d 1236, 1248 (11th Cir. 2009) (quoting United States v. Purcell, 236 F.3d 1274,

                                                       16


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 19 of 57




           1277 (11th Cir. 2001)). “[W]hen a group of officers is conducting an operation and

           there exists at least minimal communication between them, their collective knowledge

           is determinative of probable cause.” United States v. Myers, 207 Fed. Appx. 985, 987,

           (11th Cir. Nov. 28, 2006) (quoting United States v. Wilson, 894 F.2d 1245, 1254

           (11th Cir. 1990)). To have probable cause to stop a vehicle, the totality of the

           circumstances must suggest to a reasonable officer that there is a fair probability that

           a particular vehicle is carrying contraband or evidence of a crime. See United States

           v. Sokolow, 490 U.S. 1, 7 (1989); Illinois v. Gates, 462 U.S. 213, 238 (1983); United

           States v. Chavez, 534 F.3d 1338, 1343 (10th Cir. 2008) (“The police may stop a car if

           they have probable cause . . . to believe the car is carrying contraband.”). Law

           enforcement similarly has probable cause to search a vehicle “when under the totality

           of the circumstances there is a fair probability that contraband or evidence of a crime

           will be found in a particular place.” United States v. Jolly, 368 Fed. Appx. 17, 20

           (11th Cir. Feb. 24, 2010) (quoting United States v. Magluta, 418 F.3d 1166, 1182

           (11th Cir. 2005)); see also Arizona v. Gant, 129 S. Ct. 1710, 1721 (2009) (“If there is

           probable cause to believe a vehicle contains evidence of criminal activity, United States

           v. Ross, 456 U.S. 798, 820-21 . . . (1982), authorizes a [warrantless] search of any area

           of the vehicle in which the evidence might be found.”). “Probable cause must be

                                                      17


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 20 of 57




           supported by more than a mere suspicion, but does not require the same ‘standard of

           conclusiveness and probability as the facts necessary to support a conviction.’ ” United

           States v. Rodriguez-Alejandro, 664 F. Supp. 2d 1320, 1334 (N.D. Ga. 2009) (Thrash,

           J., adopting Vineyard, M.J.) (quoting United States v. Dunn, 345 F.3d 1285, 1290

           (11th Cir. 2003)).

                 The undersigned concludes that, although the issue is close, there was probable

           cause to stop and search the vehicle based on the collective knowledge of law

           enforcement through the wiretap and visual surveillance.12 First, there is evidence tying

           the source of the package to illegal activity. At the time of the traffic stop, law

           enforcement had not seized drugs or money from Daniel’s operation at the time of the

           defendant’s stop, T1:46, but law enforcement had sought and been given authorization

           to tap Daniel’s phones, indicating that there was probable cause to suspect Daniel of

                 12
                         The undersigned notes that there was minimum communication between
           the various law enforcement entities on the day of the defendant’s traffic stop. Contract
           employees for the DEA were translating the Spanish conversations to Daniel’s phone
           line into English, and these contractors were in telephonic contact with the surveilling
           agents. T1:13. The DEA observer who was surveilling events from the air was also
           in contact with the ground surveillance. T1:18-19. Finally, Agent Blevins on the
           ground relayed the information about the phone calls and the exchange to the Georgia
           State Patrol Officers, T1:22-24, T1:60-61, T2:4. Given these communications, the
           undersigned concludes that there were sufficient communications for the Court to
           examine whether there was probable cause to stop and search the truck based on the
           collective knowledge of law enforcement.

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 21 of 57




           engaging in illegal activity.13 See T1:12-13. Stated differently, there was probable

           cause to believe that Daniel was linked to criminal activity. Second, tapped phone

           conversations indicated that a meeting would occur under unusual circumstances, as the

           defendant sought to meet Daniel in a “quiet” location, which turned out to be along the

           side of the road of an industrial complex. Third, the phone conversations indicated that

           a gray car would meet the defendant’s tractor trailer (a red Kenmore), T1:14, 18, and

           aerial surveillance confirmed that the meeting occurred, T1:20, 49; aerial footage at

           9:58-10:37 in Gov’t Exh. 1. Fourth, the conversations and the surveillance indicated

           that the car dropped something off with the truck. T1:20, 49. Although the aerial

           surveillance of the drop off was obscured by tree limbs (aerial footage at 9:58-10:37 in

           Gov’t Exh. 1), a coded conversation following the Volkswagen’s departure indicated

           that 39 “popsicles” had been dropped off. T1:21-22; Def’t Exh. 1(i). Through the

           surveillance and these conversations, the undersigned concludes that the officers had

           probable cause to believe that contraband was in the truck given the coded language,


                 13
                         See United States v. Giordano, 259 F. Supp. 2d 146, 153 (D. Conn. 2003)
           (indicating that district court was required to make certain findings before authorizing
           the interception of electronic communications, including that: (1) there was probable
           cause to believe the individual was committing, had committed, or would commit a
           crime; and (2) there was probable cause that the communications concerning the
           offense would be obtained through the interception) (citing 18 U.S.C. § 2518(3)(a)-(b)).

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 22 of 57




           the unusual location of the meeting, and the suspicion of Daniel’s involvement in illegal

           activity. Since there was continual aerial surveillance of the defendant’s truck, there

           was no evidence that the defendant jettisoned the “popsicles” delivered to the truck

           prior to the Georgia State Patrol’s traffic stop. As such, the undersigned concludes that

           the wire tap and aerial surveillance provided probable cause to stop and search the truck

           because the totality of circumstances revealed a fair probability that contraband would

           be found in the truck. See Rodriguez-Alejandro, 664 F. Supp. 2d at 1339 (citing cases

           finding probable cause to stop based on wire tap evidence and finding probable cause

           to search tractor trailer based on wiretap information, which revealed, inter alia,

           conversations detailing transaction, use of coded language, surveillance of vehicles on

           the day of the drop off, and continuous surveillance of traffic trailer prior to its stop).14

                  14
                         The undersigned recognizes that the Rodriguez-Alejandro case is
           distinguishable in that law enforcement was aware of similar prior exchanges, which
           had resulted in the seizure of currency in traffic stops, whereas the officers in the instant
           case were not aware of Daniel’s organization using trucks to transport currency at the
           time of the defendant’s stop. Although the circumstances in Rodriguez-Alejandro
           provide a stronger basis for probable cause, the undersigned does not find that the
           absence of prior surveillance to be dispositive on the issue of probable cause. Here, law
           enforcement was aware: (1) of a meeting at an unusual location (a roadside in an
           industrial park); (2) that the location was chosen because it was “quiet”; (3) that there
           was a transfer of some item that was described over the phone in coded language as
           39 “popsicles”; and (4) that Daniel was suspected of being involved in illegal activities.
           Given the unusual circumstances of the transfer coupled with the surveillance, the
           undersigned concludes that there was probable cause to believe that the truck contained

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 23 of 57




                 Based on the above discussion, the undersigned concludes that law enforcement

           had probable cause to stop and search the defendant’s truck based on the

           communications with the various facets of the September 3, 2008, investigation.

           Accordingly, the undersigned RECOMMENDS that the defendant’s motion to

           suppress evidence be DENIED. The undersigned acknowledges that this issue is close

           and therefore turns to the government’s alternative bases in support of the stop and

           search, namely that there was reasonable suspicion to believe that the defendant had

           committed a traffic violation and that the search was conducted pursuant to lawful

           consent by the defendant.

                 B.     Traffic Stop for Traffic Violations

                 The government argues that even if the surveillance did not authorize the stop

           and search, Trooper Thompson had reasonable suspicion to make a traffic stop on the

           basis of a traffic violation. [Doc. 285 at 20-21]. Although the government does not

           rely on the following too closely violation as a basis for the stop, the government

           contends that Trooper Thompson’s testimony credibly shows that he stopped the

           defendant on the grounds that the truck tires did not have sufficient tread. [Id. at 11 n.1,



           contraband despite the absence of prior surveillance tying Daniel to drug or currency
           exchanges under similar circumstances.

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 24 of 57




           21-22]. The government also asserts that the traffic stop was not improperly prolonged

           because the Eleventh Circuit has approved traffic stops of longer durations and the

           circumstances of the stop show that the length of the stop was reasonable. [Id. at 23-

           24].

                  The defendant argues that the stop was pretextual because the DEA asked the

           state patrol to obtain an independent basis for probable cause. [Doc. 287 at 4-5].

           Although the defendant recognizes that a pretextual stop will not invalidate a stop, he

           then argues that the tire issue did not arise until after the stop because Thompson

           initially informed the defendant that he was stopped for following too closely and the

           tire issue was an after thought on the video. [Id. at 5-6]. The defendant then cites to

           Thompson’s admission that the pounding tire sound could arise from lawful

           reasons. [Id. at 6]. As a result, the defendant asserts that with no valid reason for the

           stop, the subsequent search and seizure were illegal. [Id. at 7]. The defendant also

           argues that his demeanor during the stop did not give law enforcement reasonable

           suspicion to believe that criminal activity was afoot so as to justify the stop or give the

           officers probable cause to search the truck.15 [Id. at 7-9]. Finally, the defendant argues

                  15
                         The government no longer contends that the defendant’s nervousness was
           a basis to prolong the stop. [See Doc. 285 at 16 n.2]. As a result, the undersigned does
           not address this argument.

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 25 of 57




           that the stop was unlawfully prolonged because the activity during the stop was not

           related to the investigation into the tire tread violation or the following too closely

           violation and instead suggests that the officers were stalling. [Id. at 10].

                 The government replies that the following too closely basis for the stop was not

           “bogus” because Thompson was unaware that an agent was in the 4Runner in front of

           the defendant’s truck. [Doc. 289 at 3]. The government asserts that Thompson credibly

           testified about hearing the sound of tires beating on the roadway. [Id. at 3-4]. Finally,

           the government notes that the defendant failed to acknowledge the Eleventh Circuit

           case law upholding traffic stops even longer than those of the defendant’s. [Id. at 4].

                        1.     Reasonable Suspicion

                 “Temporary detention of individuals during the stop of an automobile by the

           police, even if only for a brief period and for a limited purpose, constitutes a ‘seizure’

           of ‘persons’ within the meaning” of the Fourth Amendment.” Whren v. United States,

           517 U.S. 806, 809-10 (1996). A traffic stop is reasonable if there is probable cause to

           believe that a traffic violation has occurred, id. at 810, or if the stop is “justified by

           reasonable suspicion in accordance with Terry [v. Ohio], 392 U.S. 1 (1968)[,]” United

           States v. Spoerke, 568 F.3d 1236, 1248 (11th Cir. 2009); United States v. Purcell,

           236 F.3d 1274, 1277 (11th Cir. 2001). Under Terry, police officers may make an

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 26 of 57




           investigative stop if the circumstances are sufficient to enable them reasonably to

           suspect that an individual is engaged in criminal activity. Terry, 392 U.S. at 21.

           Therefore, “[a] traffic stop . . . is constitutional if it is either based upon probable cause

           to believe a traffic violation has occurred or justified by reasonable suspicion . . . .”

           United States v. Harris, 526 F.3d 1334, 1337 (11th Cir. 2008); see also United States

           v. Boyd, No. 09-13423, 2010 WL 2891485, *3 (11th Cir. July 26, 2010).

                  To establish reasonable suspicion, the officer “must be able to articulate more

           than an ‘inchoate and unparticularized suspicion or “hunch” of criminal activity.’ ”

           Illinois v. Wardlow, 528 U.S. 119, 123-24 (2000) (quoting Terry, 392 U.S. at 27). As

           a result, courts examine whether the totality of circumstances demonstrate that the

           officer has a particularized and objective basis for suspecting legal wrongdoing. United

           States v. Arvizu, 534 U.S. 266, 273 (2002). “This process allows officers to draw on

           their own experience and specialized training to make inferences from and deductions

           about the cumulative information available to them that ‘might well elude an untrained

           person.’ ” Id. (quoting United States v. Cortez, 449 U.S. 411, 418 (1981)). That the

           traffic violation is relatively minor is irrelevant to an officer’s right to stop the vehicle.

           United States v. Hale, 934 F. Supp. 427, 429 (N.D. Ga. 1996) (citing Whren); see also

           United States v. Coney, 456 F.3d 850, 855-56 (8th Cir. 2006) (same); Bolton v. Taylor,

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 27 of 57




           367 F.3d 5, 10 (1st Cir. 2004) (same); United States v. Murray, 89 F.3d 459, 461

           (7th Cir. 1996) (same).

                 Although the government has abandoned the defendant’s alleged following too

           closely offense as a basis for stopping the defendant, the undersigned concludes that

           there was reasonable suspicion to stop the defendant’s truck, namely that the truck’s

           tires did not comply with Georgia law’s tread requirement. Under Georgia law, all tires

           “[s]hall have not less than 2/32 inch tread measurable in all major grooves.” O.C.G.A.

           § 40-8-74(e)(1). Trooper Thompson credibly testified that he stopped the defendant’s

           truck in part because he heard the wheels “pounding” when the defendant’s truck

           passed the patrol car on the roadway, which suggested to him that the tire tread was

           worn. See T1:63, 66. Although there were lawful explanations for the noise (T2:19),

           an officer need not rule out all lawful explanations before having reasonable suspicion

           to make a stop. Arvizu, 534 U.S. at 278 (“A determination that reasonable suspicion

           exists, however, need not rule out the possibility of innocent conduct.”). This

           testimony tying the “pounding” wheel noise to a violation of O.C.G.A. § 40-8-74

           provided reasonable suspicion to stop the truck for a traffic violation.




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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 28 of 57




                 The defendant argues that the testimony merely was made to cover the pretextual

           nature of the stop,16 but the undersigned finds that Thompson was a credible witness

           as additional evidence corroborates his testimony that he stopped the defendant in part

           for the tire tread violation. First, the video of the traffic stop supports Thompson’s

           testimony as he informed the defendant that he stopped him for the tread violation

           within three minutes after the stop and after answering the defendant’s questions about

           the following too closely basis for the stop. See Gov’t Exh. 2 at 2:54-3:00. Thompson

           explained to the defendant that he heard the truck tires beating. See id. Additionally,

           the undersigned finds additional corroboration from the photographs of the truck tires

           showing well worn tire tread. See Gov’t Exhs. 3-4. Finally, Thompson ticketed the

           defendant for these violations during the traffic stop. See Gov’t Exh. 5. As a result, the

           undersigned concludes that Thompson’s stated basis for the stop - - a tire tread

           violation - - was credible, so Thompson had reasonable suspicion to stop the truck for

           the tread violations based on the pounding noise of the tires because his testimony tied

           the pounding noise to insufficient tread.


                 16
                        The defendant correctly recognizes that he cannot successfully argue that
           the stop was pretextual.         See United States v. Boyd, No. 09-13423,
                                      th
           2010 WL 2891485,*3-4 (11 Cir. July 26, 2010) (citing Whren, 517 U.S. at 813; United
           States v. Holloman, 113 F.3d 192, 194 (11th Cir. 1997)).

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 29 of 57




                 The defendant argues that even if there was a legitimate basis for the stop, the

           Georgia State Patrol officers unreasonably prolonged the stop. [See Doc. 287 at 10].

           As a result, the undersigned turns to whether the stop was unreasonable.

                        2.     Duration and Scope of the Traffic Stop

                 The reasonableness of a traffic stop turns not only on whether the stop was

           initially justified on reasonable suspicion/probable cause grounds, but also on whether

           the stop was “reasonably related in scope to the circumstances which justified the

           interference in the first place.” United States v. Sharpe, 470 U.S. 675, 682 (1985)

           (quoting Terry, 392 U.S. at 20); see also United States v. Street, 472 F.3d 1298, 1306

           (11th Cir. 2006). Further, “the duration of the traffic stop must be limited to the time

           necessary to effectuate the purpose of the stop.” United States v. Purcell, 236 F.3d

           1274, 1277 (11th Cir. 2001) (emphasis in original). In other words, “[a] seizure that is

           justified solely by the interest in issuing a warning ticket to the driver can become

           unlawful if it is prolonged beyond the time reasonably required to complete that

           mission.” Illinois v. Caballes, 543 U.S. 405, 407 (2005). “Ordinarily, when a citation

           or warning has been issued and all record checks have been completed and come back

           clean, the legitimate investigative purpose of the traffic stop is fulfilled.” United States

           v. Simms, 385 F.3d 1347, 1353 (11th Cir. 2004).

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 30 of 57




                 As for the length of a traffic stop, an officer may prolong the stop to investigate

           the driver’s license and the vehicle registration and to perform a computer check.

           Purcell, 236 F.3d at 1278. A delay in obtaining the results of a criminal history check

           is reasonable where the criminal history check is part of the officer’s routine traffic

           investigation. See United States v. Boyce, 351 F.3d 1102, 1106-07 (11th Cir. 2003).

           However, a criminal record request that lengthens a traffic stop beyond what is

           reasonable may constitute an unreasonable detention. Purcell, 236 F.3d at 1279. When

           a defendant consents to a search, the stop becomes a consensual encounter, so courts

           examine only the length of time prior to consent in determining whether a stop was

           unreasonably prolonged. See United States v. Gonzalez, 275 Fed. Appx. 930, 933

           (11th Cir. May 2, 2008) (“[W]here the driver raises no issue concerning the scope or

           duration of the search, only the time period between the initial stop and the driver’s

           consent is relevant to the reasonableness of the duration of the traffic stop.”); Purcell,

           236 F.3d at 1279. The Eleventh Circuit has approved stops lasting 14, 30, and 50

           minutes in duration prior to consent. Purcell, 236 F.3d at 1279 (finding stop reasonable

           that lasted 14 minutes before defendant consented to search); United States v. Hardy,

           855 F.2d 753, 761 (11th Cir. 1988) (approving 50 minute investigatory stop); see also

           United States v. Simmons, 172 F.3d 775, 780 (11th Cir. 1999) (observing that traffic

                                                      28


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 31 of 57




           stops longer than 30 or 50 minutes “during which nothing occurred to justify the

           additional detention, usually require extenuating circumstances to be upheld”).

                 As for the scope of the traffic stop, “[a]n officer’s inquiries into matters unrelated

           to the justification for the traffic stop . . . do not convert the encounter into something

           other than a lawful seizure, so long as those inquiries do not measurably extend the

           duration of the stop.” Arizona v. Johnson, 129 S. Ct. 781, 788 (2009); Purcell,

           236 F.3d at 1279-80.       The Eleventh Circuit examines the following factors in

           determining whether the traffic stop ripens into an arrest:

                 (1) the law enforcement purposes served by the detention; (2) the
                 diligence with which the police pursued their investigation; (3) the scope
                 and intrusiveness of the detention; and (4) the duration of the detention.

           United States v. Fields, 178 Fed. Appx. 890, 893 (11th Cir. Apr. 26, 2006) (citing

           United States v. Acosta, 363 F.3d 1141, 1146 (11th Cir. 2004)).

                 The undersigned concludes that the defendant’s traffic stop was not unreasonably

           prolonged prior to his consent to search. Initially, the 30-minute length of the traffic

           stop prior to the defendant’s consent search was not unreasonably long. The video

           shows that the Georgia State Patrol officers’ actions during this time were related to the

           stop. As part of the stop, Trooper Thompson discussed the violations with the

           defendant, he obtained the defendant’s paper work and truck log, and he ran computer

                                                       29


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 32 of 57




           checks as part of the stop. The 15-minute delay in obtaining information from BLOC

           after requesting it was not unreasonable. See United States v. Ubaldo-Viezca, No. 09-

           16341, 2010 WL 3895710, *7 (11th Cir. Oct. 6, 2010) (“Although it took 20 to 25

           minutes for this information to be verified through BLOC, [the officer] was permitted

           to prolong the detention during this time, because he was investigating the driver’s

           license and vehicle registration.”). Once Thompson received the information from

           BLOC, he completed writing the warning and ticket to the defendant. Nothing about

           the circumstances of the stop suggest that the stop was unreasonable based on its

           duration. See Simmons, 172 F.3d at 780; Hardy, 855 F.2d at 761.

                 Also, the undersigned concludes that the stop was not unreasonable because

           Trooper Thompson’s actions and questions did not expand the scope of the stop.

           Again, the video reveals that the officers’ actions during the stop were related to the

           traffic violations. Although the defendant suggests that Thompson’s behavior exhibited

           stalling, he has not pointed to any specific stalling behaviors. The undersigned’s

           review of the video did not find any unreasonable actions on the part of the Georgia

           State Patrol officers as their actions were related to the stop as follows. Officer

           Thompson first met the defendant outside of the truck, asked for his licence and other

           papers, and explained the reasons for the traffic stop. See Gov’t Exh. 2 at 1:25-318.

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 33 of 57




           Thompson next examined the defendant’s paperwork while asking the defendant

           questions about the violations, the truck load, the destination, the paperwork, the

           truck’s log, the truck company, and the defendant’s personal information. See id. at

           3:35-7:40. Thompson also performed a visual inspection of the driver-side of truck

           once other officers arrived, see id. at 7:44-8:20, after which Thompson explained that

           he saw another tire violation, see id. at 8:25-8:57. Thompson then entered his patrol

           car, performed the computer checks of the defendant and the truck, and called to get

           information about the defendant and the truck. Id. at 9:20-19:14. While in the patrol

           car, Thompson started working on the defendant’s tickets. See T1:85-87. Upon exiting

           the patrol car, Thompson returned the defendant’s documents to him, informed the

           defendant that he was getting a warning for following too closely, indicated that the

           defendant was being ticketed for the tire violations, asked the defendant about his

           citizenship, asked to see his green card, and continued writing the tickets after

           examining the documents while asking the defendant about his prior encounters with

           law enforcement. See Gov’t Exh. at 19:30-23:25. Thompson also asked about

           firearms, explosives, large amounts of currency, and drugs in the truck. Gov’t Exh. 2

           at 23:30-24:02. When Thompson received a phone call from BLOC, he returned to the

           patrol car. Id. at 24:02-26:00; T1:91. After exiting the patrol car, Thompson examined

                                                    31


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 34 of 57




           the defendant’s tire, id. at 26:22-27:42, and then went over the court date and ticket

           with the defendant, id. at 27:43-29:23. He again asked about the presence of

           contraband in the truck and asked to search the truck. See id. at 29:25-29:32. This

           detailed summary of the course of the proceedings demonstrates that there is nothing

           about the officers’ actions to suggest delay, an overly intrusive detention, an

           unreasonably long detention, or a detention that was outside of the purpose of the stop.

           Therefore, law enforcement’s actions did not exceed the scope of the traffic stop, as the

           actions and questions were primarily related to the traffic violations.

                 Since the stop was supported by reasonable suspicion and the duration and the

           scope of the traffic stop were reasonable, the undersigned concludes that there was no

           Fourth Amendment violation during in stopping and detaining the defendant.

           Accordingly, the undersigned RECOMMENDS that the defendant’s motion to

           suppress evidence on the basis of an unlawful traffic stop be DENIED.

                 C.     Consent to Search

                 The government contends that the defendant voluntarily consented to the search

           of his truck.   [Doc. 285 at 24-25].      The government notes that the following

           circumstances all point to voluntary consent: (1) the defendant was not handcuffed;

           (2) law enforcement did not unholster their weapons; (3) the defendant understood the

                                                      32


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 35 of 57




           troopers; (4) the defendant signed a consent form; and (5) there was no evidence of

           coercion at the suppression hearing. [Id. at 285].

                 The defendant argues that his consent was not free and knowing despite his

           signing of the consent form based on the totality of the circumstances. [Doc. 287 at 11-

           12]. First, he asserts that he was detained for 30 minutes before giving consent. [Id.

           at 11]. Second, he contends that the presence of multiple armed officers, a K-9, and

           activated blue lights were intimidating. [Id.]. Third, the defendant notes that he is

           primarily fluent in Spanish while Thompson is not. [Id. at 12]. Fourth, the defendant

           contends that the government failed to produce evidence about the defendant’s

           education or ability to read Spanish. [Id.]. Fifth, the defendant notes that he was not

           advised of his right to refuse consent and that it is unlikely that an individual would

           agree to a search if he were carrying drug proceeds. [Id.].

                 The government replies that the traffic stop was not coercive. [Doc. 289 at 5].

           First, the government notes that every traffic stop involves armed officers and flashing

           lights. [Id.]. Second, the government asserts that there is no evidence that the

           defendant was intimidated by the dog. [Id.].

                 A search conducted pursuant to consent is “one of the specifically established

           exceptions to the requirements of both a warrant and probable cause[.]” United States

                                                     33


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 36 of 57




           v. Santa, 236 F.3d 662, 676 (11th Cir. 2000) (quoting United States v. Freyre-Lazaro,

           3 F.3d 1496, 1500-01 (11th Cir. 1993), and Schneckloth v. Bustamonte, 412 U.S. 218,

           219 (1973)). Consent is valid where it is voluntary and not the product of an illegal

           seizure. Id. (citing United States v. Robinson, 625 F.2d 1211, 1219 (5th Cir. 1980)).

                 “In order for consent to a search to be deemed voluntary, it must be the product

           of an essentially free and unconstrained choice.” United States v. Garcia, 890 F.2d

           355, 360 (11th Cir. 1989). In considering whether a consent to search was voluntary,

           the Court must examine the totality of the circumstances. United States v. Tovar-Rico,

           61 F.3d 1529, 1535 (11th Cir. 1995); see also United States v. Gonzalez, 71 F.3d 819,

           828-32 (11th Cir. 1996) (illustrating factors properly to be considered in totality of

           circumstances inquiry). Further, “‘[t]he government bears the burden of proving . . .

           that the consent was not a function of acquiescence to a claim of lawful authority but

           rather was given freely and voluntarily.’ ” United States v. Hidalgo, 7 F.3d 1566, 1571

           (11th Cir. 1993) (quoting United States v. Blake, 888 F.2d 795, 798 (11th Cir. 1989)).

           The absence of official coercion is a sine qua non of effective consent, as it is axiomatic

           that “[w]here there is coercion, there cannot be consent.” Gonzalez, 71 F.3d at 828

           (quoting Bumper v. North Carolina, 391 U.S. 543, 550 (1968)); see also Florida v.




                                                       34


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 37 of 57




           Bostick, 501 U.S. 429, 438 (1991) ( “ ‘Consent’ that is the product of official

           intimidation . . . is not consent at all.”).

                  The Eleventh Circuit has, on prior occasions, identified a non-exhaustive list of

           relevant factors to consider when making the assessment of whether consent to a

           warrantless search is voluntary: voluntariness of the defendant’s custodial status, the

           presence of coercive police procedures, the extent and level of the defendant’s

           cooperation with police, the defendant’s awareness of his right to refuse to consent to

           the search, the defendant’s education and intelligence, and, significantly, the

           defendant’s belief that no incriminating evidence will be found. United States v. Blake,

           888 F.2d 795, 798-9 (11th Cir. 1989). However, the failure to advise the defendant of

           his right to refuse to consent will not invalidate an otherwise valid consent to search.

           United States v. Pineiro, 389 F.3d 1359, 1366 n.4 (11th Cir. 2004); United States v.

           Zapata, 180 F.3d 1237, 1242 (11th Cir. 1999).

                  The undersigned concludes that the defendant’s consent to search the truck was

           voluntary. First, the defendant signed a written consent form, T1:92, Gov’t Exh. 7,

           which indicated that he had the right to refuse consent. See United States v. Geboyan,

           367 Fed. Appx. 99, 101-02 (11th Cir. Feb. 24, 2010) (finding consent voluntary in part

           where consent form indicated that defendant could refuse to consent). Second,

                                                          35


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 38 of 57




           although the defendant was a native Spanish speaker, the video indicates that he

           understood English very well given his responsive answers to questions and ability to

           communicate with the officers in English. See generally Gov’t Exh. 2. The defendant

           therefore understood Trooper Thompson’s request to search the truck. Additionally,

           the defendant’s reading and signing of the Spanish version of the consent form suggests

           that he understood Thompson’s request. Third, although the government never

           produced evidence of the defendant’s education level, the video reveals that the

           defendant was literate, as he read and signed the consent to search and the disclaimer

           of currency forms. Fourth, the consent was not a result of coercive police practices.

           While reviewing the consent form, Trooper Thompson stood away from the defendant.

           T1:94. Also, at this time, the troopers had not touched the defendant, had not

           handcuffed the defendant, had not spoken to the defendant in a threatening or abusive

           manner, and had not unholstered their firearms. See T1:96, Gov’t Exh. 2 at 29:33-

           31:02.

                    Fifth, the undersigned is unpersuaded by the defendant’s three best arguments

           supporting his position that the consent was involuntary - - the length of the detention

           prior to the consent, the presence of three troopers and a K-9, and the unlikeliness that

           the defendant would consent to a search with the presence of drug proceeds. Initially,

                                                      36


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 39 of 57




           the undersigned notes that the totality of the circumstances weigh in favor of the

           consent being voluntary based on the factors outlined above. As for the length of the

           traffic stop prior to the defendant giving consent, the 30 minutes prior to the obtaining

           the consent was not extraordinary (as explained above), so the undersigned concludes

           that the length of the stop did not effect the voluntariness of the consent. See United

           States v. Brown, 223 Fed. Appx. 875, 880 (11th Cir. Mar. 29, 2007) (finding that 20 to

           25 minute period between stop and consent was “not the kind of prolonged detention

           that might contribute to a coercive environment”).

                 As for the presence of three officers, this police presence does not render the

           consent involuntary, as the Eleventh Circuit has found searches with more officers

           present to be consensual. See United States v. Garcia, 890 F.2d 355, 360-62 (11th Cir.

           1989) (fourteen officers); United States v. Espinosa-Orlando, 704 F.2d 507, 511, 513

           (11th Cir. 1983) (four officers). Additionally, the undersigned concludes that the K-9

           presence did not effect the voluntary nature of the defendant’s consent because: (1) the

           video indicates that the dog was not removed from the patrol car until after the consent

           was given, see Gov’t Exh. 2 at 29:33-31:02 (consent given), 41:08-41:26 (enthusiastic

           removal of dog), 42:11 (first appearance of dog on video); and (2) courts have

           determined that the presence of a dog is not inherently coercive, see United States v.

                                                      37


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 40 of 57




           Olivares-Campos, 276 Fed. Appx. 816, 824 n.7 (10th Cir. May 2, 2008) (finding

           presence of K-9 was not coercive where the defendant orally agreed to search prior to

           dog’s appearance).

                 As for the defendant’s knowledge of the contraband’s presence, this factor does

           not outweigh the other factors. United States v. Weeks, 666 F. Supp. 2d 1354, 1376-77

           (N.D. Ga. 2009) (Thrash, J., adopting Vineyard, M.J.) (finding that awareness of

           contraband’s presence did not require finding that consent was involuntary). Also,

           “[d]espite the obvious irony, . . . suspects can, and often do, voluntarily consent to a

           search even when it must be clear to them that incriminating evidence will be

           disclosed.” United States v. Price, 599 F.2d 494, 503 (2d Cir. 1979). Since the

           undersigned is unpersuaded by the defendant’s arguments and the totality of the

           circumstances points to the voluntariness of the consent, the undersigned finds that the

           defendant’s consent was voluntary.

                 Finally, the undersigned observes that this conclusion is bolstered by the

           Eleventh Circuit case law in which the Court has found consent to be voluntary under

           far more coercive environments than the one in this case. See Brown, 223 Fed. Appx.

           at 880 (citing cases and finding consent to search voluntary despite fact that officer

           drew gun as he pulled the defendant’s car over and placed the defendant in handcuffs);

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 41 of 57




           Espinosa-Orlando, 704 F.2d at 512-13 (finding consent to search car was voluntary

           where the defendant was arrested by four agents near his car at gun point, forced to lay

           on the grass near the roadway and gave consent while lying down because there was

           no abusive language used and no threats, the request was made in a conversational tone,

           and the defendant was not handcuffed or removed from the scene of the stop and

           detention); cf. Hidalgo, 7 F.3d at 1571 (finding consent was voluntary where the

           defendant had been “arrested by SWAT team members who broke into his home in the

           early morning, woke him, and forced him to the ground at gunpoint”); Garcia, 890 F.2d

           at 360-62 (finding consent to search voluntary where the defendant was arrested by

           numerous officers, the defendant was patted down for weapons, the officers performed

           a protective sweep of his house, the officers placed the defendant in handcuffs, the

           officers gave the defendant his Miranda rights, and the officers refused to accept a

           limited consent).

                 Based on the above discussion, the undersigned concludes that the defendant’s

           consent to the search of the tractor trailer was voluntary. Cf. Rodriguez-Alejandro,

           664 F. Supp. 2d at 1337-38 (finding consent to search tractor trailer was voluntary

           where defendant was cooperative, there was no language barrier, weapons were not

           drawn, there was no show of force, and there were no objections voiced during the

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 42 of 57




           search). Accordingly, the undersigned RECOMMENDS that the Defendant’s motion

           to suppress evidence from the search of the truck be DENIED.

                 D.     Standing17 to Suppress Currency

                 The government argues that the defendant does not have Fourth Amendment

           standing to contest the search of the suitcase because he disclaimed an interest in the

           suitcase and currency. [Doc. 285 at 26-27]. As evidence of abandonment, the

           government points to the defendant’s signing of the disclaimer form, failure to make

           a claim on the currency following the seizure, and the lack of evidence at the hearing

           of an interest in the currency. [Id. at 27].

                 The defendant responds that the government only showed that the defendant

           denied ownership of the suitcase, not that he legally abandoned it. [Doc. 287 at 13].

           The defendant argues that the government did not present evidence that the defendant

           voluntarily discarded or relinquished the property. [Id.]. The defendant asserts that it


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                         The undersigned recognizes that the Supreme Court disapproves of the use
           of the word “standing.” See Rakas v. Illinois, 439 U.S. 128, 139-40 (1978); see also
           United States v. Hawkins, 681 F.2d 1343, 1344-45 (11th Cir. 1982). However, the
           undersigned will use the word “standing” when referring to whether the defendant has
           an expectation of privacy because the government has used this term and courts
           routinely use “standing” as “shorthand for the existence of a privacy or possessory
           interest sufficient to assert a Fourth Amendment claim.” United States v. Daniel,
           982 F.2d 146, 149 n.2 (5th Cir. 1993).

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 43 of 57




           is entirely possible to disclaim ownership of the suitcase while still maintaining a

           possessory interest. [Id.]. The defendant argues that his knowledge of the suitcase in

           his truck indicates that he had an interest in the suitcase. [Id. at 13-14]. Finally, the

           defendant contends that this abandonment issue is a “red herring” because the issue in

           the case is the search of the truck, not the suitcase. [Id. at 14].

                 The government replies that the defendant abandoned the suitcase by signing the

           disclaimer form, leaving the scene without the currency, and never attempting to

           retrieve the suitcase or currency. [Id. at 5-6].

                 As mentioned above, the Fourth Amendment prohibits “unreasonable searches

           and seizures.” U.S. Const. Amend. IV. To challenge a seizure as violating the Fourth

           Amendment, a defendant must have “standing,” i.e., a legitimate expectation of privacy

           in the item seized. See United States v. Gonzalez, 940 F.2d 1413, 1420 n.8 (11th Cir.

           1991). An individual who abandons property does not have a legitimate expectation

           of privacy in the property, so he cannot challenge the seizure of the evidence. See

           United States v. Edwards, 644 F.2d 1, 2 (5th Cir. May 1, 1981) (stating that a defendant

           who has abandoned property has no reasonable expectation of privacy in the property).

           To determine whether a defendant abandons property, “the critical inquiry is whether

           the person prejudiced by the search [ ] voluntarily discarded, left behind, or otherwise

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 44 of 57




           relinquished his interest in the property in question so that he could no longer retain a

           reasonable expectation of privacy with regard to it at the time of the search.” United

           States v. Walker, 199 Fed. Appx. 884, 886 (11th Cir. Oct. 10, 2006) (quoting United

           States v. Ramos, 12 F.3d 1019, 1022 (11th Cir. 1994)). Courts may infer abandonment

           from acts, words, other objective facts, and events occurring after the abandonment.

           Id. Therefore, “an individual who abandons or denies ownership of personal property

           may not contest the constitutionality of its subsequent acquisition by the police.”

           United States v. Cofield, 272 F.3d 1303, 1307 (11th Cir. 2001). The government bears

           the burden of proving abandonment of property. Id. at 1306.

                 The undersigned concludes that the defendant does not have standing to

           challenge the search and seizure of the suitcase or the seizure of the currency because

           he does not have a legitimate expectation of privacy in these items. First, the defendant

           verbally denied ownership of the suitcase and its contents at the traffic stop. T1:101-

           02, 110. Second, he voluntarily signed a form (in Spanish) disclaiming any ownership

           in the suitcase or the currency. See Gov’t Exh. 13; T1:05-06. Third, the defendant

           informed the officers that the suitcase belonged to someone else. T1:104. Fourth, the

           defendant has not challenged the government’s assertion that he has not subsequently

           claimed an ownership interest in the currency. Given these circumstances, the

                                                      42


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 45 of 57




           undersigned concludes that the defendant abandoned any interest in the suitcase or the

           currency, so he lacks standing to challenge the seizure on Fourth Amendment grounds.

           See Cofield, 272 F.3d at 1307 (holding that defendant abandoned suitcases where

           defendant denied ownership of bags); United States v. Hawkins, 681 F.2d 1343, 1345

           (11th Cir. 1982) (“This Court has ruled that disclaiming ownership or knowledge of an

           item ends a legitimate expectation of privacy in that item.”); United States v. Sims,

           808 F. Supp. 596, 604 (N.D. Ill. 1992) (concluding that defendant did not have standing

           to challenge seizure of cloth money bag and the currency in the bag where the

           defendant denied knowledge of the bag’s contents and disclaimed an interest in the

           money); United States v. Restrepo Naranja, 643 F. Supp. 154, 160 (S.D. Fla. 1986)

           (finding that defendant did not have standing to suppress currency where he abandoned

           any interest in it).

                  Accordingly, the undersigned RECOMMENDS that the defendant’s motion to

           suppress the suitcase and its contents be DENIED.18

                  18
                         To the extent that the defendant’s “red herring” statement, [Doc. 287 at
           14], is meant to implicate a fruit from the poisonous tree issue, the undersigned notes
           that evidence obtained as a result of a Fourth Amendment violation may be suppressed
           as fruit from the poisonous tree, see Wong Sun v. United States, 371 U.S. 471, 487-88
           (1963), even evidence that is subsequently abandoned so long as an illegal search taints
           the abandonment, United States v. Beck, 602 F.2d 726, 729-30 (5th Cir. 1979)
           (suppressing evidence where abandonment was caused by illegal stop) United States

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 46 of 57




                 E.     Miranda

                 The government asserts that the officers’ questioning of the defendant during the

           traffic stop did not violate the defendant’s Miranda rights because the defendant was

           not “in custody” when he was speaking with the Georgia Patrol Officers. [Doc. 285 at

           27-29]. Relying on the Eleventh Circuit’s unpublished decision in United States v.

           Crawford, 294 Fed. Appx. 466 (11th Cir. Sept. 19, 2008), the government contends

           there was no custody because: (1) the defendant was not handcuffed or restrained;

           (2) the officers did not point weapons or use force; and (3) the officers were respectful

           toward the defendant. [Id. at 28-29].

                 The defendant argues that his statements should be suppressed because he was

           not provided a Miranda warning while “in custody.” [Doc. 287 at 14-16]. The

           defendant argues that he was “in custody” because it was not reasonable for the

           defendant to believe that he was free to leave given the number of troopers on the

           scene. [Id. at 15-16]. In reply, the government reiterates its reliance on Crawford.

           [Doc. 289 at 6].


           v. Caballero-Chavez, 260 F.3d 863, 867 (8th Cir. 2001); United States v. Foster,
           566 F. Supp. 1403, 1412 (D.D.C. 1983). However, the undersigned need not address
           the fruit from the poisonous tree issue because the undersigned has concluded that the
           traffic stop was reasonable and the defendant’s consent to search the truck was
           voluntary.

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 47 of 57




                 The Fifth Amendment provides that “[n]o person shall be . . . compelled in any

           criminal case to be a witness against himself.” U.S. CONST. AMEND. V. Based on this

           Fifth Amendment right against self-incrimination, the Supreme Court adopted a rule

           in Miranda v. Arizona, 384 U.S. 436 (1966), that “certain warnings must be given

           before a suspect’s statement made during custodial interrogation could be admitted in

           evidence.” Dickerson v. United States, 530 U.S. 428, 431-32 (2000) (holding that the

           Miranda decision is a constitutional decision). “[F]ailure to give the prescribed

           [Miranda] warnings and obtain a waiver of rights before custodial questioning

           generally requires exclusion of any statements obtained.” Missouri v. Seibert, 542 U.S.

           600, 608 (2004) (plurality opinion).

                 “The right to Miranda warnings attaches when custodial interrogation begins.”

           Acosta, 363 F.3d at 1148. Thus, “pre-custodial questioning does not require Miranda

           warnings.” Street, 472 F.3d at 1309. A defendant is in custody for Miranda purposes

           when “there is a ‘formal arrest or restraint on freedom of movement’ of the degree

           associated with a formal arrest.” Maryland v. Shatzer, 130 S. Ct. 1213, 1224 (2010)

           (quoting New York v. Quarles, 467 U.S. 649, 655 (1984)). This is an objective standard

           from the perspective of a reasonably innocent person. Street, 472 F.3d at 1309. Stated

           somewhat differently, the “in-custody” standard examines whether “under the totality

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 48 of 57




           of the circumstances, a reasonable man in the suspect’s position would feel a restraint

           on his freedom of movement fairly characterized as that degree associated with a formal

           arrest to such extent that he would not feel free to leave.” United States v. Muegge,

           225 F.3d 1267, 1270 (11th Cir. 2000) (quoting United States v. Phillips, 812 F.2d 1355,

           1360 (11th Cir. 1987)) (internal quotation marks omitted). Courts examine such factors

           as whether “the officers brandished weapons, touched the suspect, or used language or

           a tone that indicated that compliance with the officers could be compelled,” Street,

           472 F.3d at 1309 (quoting United States v. Long, 866 F.2d 402, 405 (11th Cir. 1989)),

           “as well as the location and length of the detention,” United States v. Luna-Encinas,

           603 F.3d 876, 881 (11th Cir. 2010).19

                 19
                         Justice Breyer has stated that the following factors are helpful in
           evaluating whether an individual is in custody include: “how long the interrogation
           lasted (brief and routine or protracted?), . . .; how the suspect came to be questioned
           (voluntarily or against his will?) . . .; where the questioning took place (at a police
           station or in public?) . . .; and what the officer communicated to the individual during
           the interrogation (that he was a suspect? that he was under arrest? that he was free to
           leave at will?).” Yarborough v. Alvarado, 541 U.S. 652, 675-76 (2004) (Breyer, J.,
           dissenting) (citations omitted). The Eight Circuit has identified the following six
           factors as “general indicia . . . in determining whether a suspect is in custody:
           (1) whether law enforcement informed the suspect the questioning was voluntary, and
           the suspect was free to leave and was not under arrest; (2) whether the suspect had
           unrestrained freedom of movement during the questioning; (3) whether the suspect
           contacted the authorities or voluntarily agreed to official requests to answer questions;
           (4) whether law enforcement employed strong-arm tactics or deceptive stratagems
           during questioning; (5) whether the atmosphere of the interrogation was police

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 49 of 57




                 “Traffic stops . . . are special cases that necessarily implicate a certain minimal

           amount of restraint on an individual’s freedom of movement in order to effectuate their

           basic purpose.” United States v. Cole, No. 1:09-cr-412, 2010 WL 3210963, *11 (N.D.

           Ga. Aug. 11, 2010) (Evans, J.) (citing Acosta, 363 F.3d at 1148-49). As a result,

           Miranda warnings are not required when an individual is detained during ordinary

           traffic stops, Berkemer v. McCarty, 468 U.S. 420, 440 (1984),20 but a Miranda warning

           may be required during some stops, which involve highly intrusive, coercive

           atmospheres, see Acosta, 363 F.3d at 1148.

                 The undersigned concludes that the defendant’s statements are not subject to

           suppression because the defendant was not “in custody” at the time he spoke with law

           enforcement. First, that the officers had seized the defendant for a traffic stop does not

           automatically render the defendant “in custody” so as to require Miranda warnings



           dominated; or (6) whether law enforcement placed the suspect under arrest at the end
           of questioning.” United States v. Plumman, 409 F.3d 919, 924 (8th Cir. 2005).
                 20
                         There are “two key factors” for this rule. Acosta, 363 F.3d at 1149. First,
           a detention for a traffic stop is “presumptively temporary and brief,” which “reduces
           the danger that the driver through subterfuge will be made to incriminate himself.” Id.
           (quoting Berkemer, 468 U.S. at 437 & 438 n.27). Second, most motorists who are
           stopped will not “feel completely at the mercy of the police” because of the public
           nature of the stop and the circumstances are less “police dominated” than station house
           interrogation. Id. (quoting Berkemer, 468 U.S. at 438, 439).

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 50 of 57




           before speaking to the defendant. See Street, 472 F.3d at 1309-10 (“[A] seizure does

           not necessarily constitute custody for Miranda purposes.”). Also, that the defendant

           was not free to leave the traffic stop is also of no consequence because a driver and

           passenger cannot reasonably expect to leave while an officer investigates a traffic

           violation. See Arizona v. Johnson, 129 S. Ct. 781, 788 (2009) (noting that traffic stop

           communicates to passenger that he is not free to terminate the encounter and move

           about at will); Brendlin v. California, 551 U.S. 249, 257-58 (2007) (noting that traffic

           stop “necessarily . . . halts the driver”).

                  Second, the defendant was not in custody prior to his consent to search.

           Although the officers were armed, there is no evidence that they ever unholstered their

           weapons. Also, the tone of the officers toward the defendant was polite, and the video

           of the traffic stop does not reveal that the officers ever touched the defendant. The

           traffic stop was ordinary prior to the request to search as Thompson reviewed

           paperwork, checked for criminal history, and wrote the ticket and warnings. The stop

           and questioning were along the roadway and in front of the public. At the period prior

           to the search, the traffic stop was ordinary and therefore the defendant was not “in

           custody.” See Berkemer, 468 U.S. at 439-40; Crawford, 294 Fed. Appx. at 474

           (holding defendant was not in custody during traffic stop where, inter alia, the

                                                         48


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 51 of 57




           questioning occurred in public, there were no physical restraints, and the officers did

           not draw their guns).

                 Third, the undersigned recognizes that “[i]f a motorist who has been detained

           pursuant to a traffic stop thereafter is subjected to treatment that renders him “in

           custody” for practical purposes, he will be entitled to the full panoply of protections

           prescribed by Miranda.” Berkemer, 468 U.S. at 440. The defendant was not, however,

           “in custody” even after he consented to the search and after the officers found

           contraband although the issue is extremely close.

                 The undersigned recognizes that there were aspects of the defendant’s seizure

           following his consent to search that indicated that he was restrained. For instance, the

           officers did not give the defendant permission to immediately make phone calls, Gov’t

           Exh. 2 at 37:35, and they photographed the defendant and his papers, id. at 40:33,

           41:03, 42:50.21 They also took items from the defendant’s pockets and held these items,




                 21
                         See Johnson v. Harkleroad, 104 Fed. Appx. 858, 866-67 & n.4 (4th Cir.
           July 19, 2004) (noting that photographing defendant “might demonstrate custody” but
           also noting that there was an “absence of clearly established federal law on whether the
           photographing of a suspect is an indicia of custody”); United States v. Crews, No. 06-
           cr-418, 2009 WL 426646, *7-8 (W.D. Pa. Feb. 20, 2009) (concluding that refusal to
           allow defendant to make phone calls was one piece of evidence weighing in favor of
           a finding that defendant was in custody).

                                                     49


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 52 of 57




           id. at 57:51.22 Additionally, the defendant was aware that the officers found a large

           amount of currency, Gov’t Exh. 2 at 34:29,23 after he had previously denied its

           presence, id. at 23:26-23:55,24 and he was questioned about the suitcase while it was in

           front of him, id. at 49:37. Although these factors weigh in favor of finding the

           defendant “in custody” at some point following the search of the truck, other evidence

           diminishes the coercive or restraining nature of these actions.




                 22
                         The undersigned also notes that the defendant’s shoes were off during the
           encounter. See Gov’t Exh. 2 at 1:11:24-1:11:36 (defendant holding his shoes in his
           right hand and then transferring them to his left side). It is unclear when the defendant
           removed his shoes and whether the officers ordered them removed or the defendant had
           voluntarily taken them off. The defendant has not addressed this evidence, the
           evidentiary hearing testimony is silent on this facet of the traffic stop, and the traffic
           stop video is also unhelpful. Without any argument by the defendant or clear evidence
           relating to the shoe removal, the undersigned does not address this fact in the “in
           custody” analysis. See United States v. Mwangi, No. 1:09-cr-107, 2010 WL 520793
           at *6 (N.D. Ga. Feb. 5, 2010) (Thrash, J., adopting Baverman, M.J.) (citing cases for
           proposition that the defendant bears the burden of establishing that he was “in
           custody”).
                 23
                        See United States v. Revels, 510 F.3d 1269, 1276 (10th Cir. 2007)
           (concluding that confronting defendant with a bag of contraband that had been seized
           during the search effected “the tone of the interrogation” when evaluating whether
           defendant was “in custody”).
                 24
                        The defendant has not identified this evidence as supportive of his “in
           custody” argument. [See Doc. 287 at 15 (focusing on the “numerous uniformed armed
           troopers” on the scene)].

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 53 of 57




                 Immediately after telling the defendant he could not make phone calls, the

           defendant was told that he was not going to go to jail. Gov’t Exh. 2 at 37:44. This

           statement weighs against finding the defendant to be “in custody” and diminishes the

           coercive nature of the other actions. See Oregon v. Mathiason, 429 U.S. 492, 495

           (1977) (concluding the defendant was not “in custody” where, inter alia, he was

           informed he was not under arrest); United States v. Thomas, 193 Fed. Appx. 881, 886

           (11th Cir. Aug. 16, 2006) (same); United States v. Salvo, 133 F.3d 943, 951 (6th Cir.

           1998) (holding that freedom of movement “coupled with . . . statement to [defendant]

           that he was not under arrest, is compelling evidence that [defendant] was not in

           custody”); see also United States v. Elzahabi, 557 F.3d 879, 884 (8th Cir. 2009) (“The

           most obvious and effective means of demonstrating that a suspect has not been taken

           into custody is an express advisement that the suspect is not under arrest and that his

           participation in questioning is voluntary.”) (citation and internal quotation marks

           omitted).25 Also, Thompson informed the defendant that he would be able to make a

                 25
                          This is not to say that merely informing a defendant that he is not under
           arrest prior to questioning gives law enforcement a free pass to ignore Miranda. See
           United States v. Slaight, --- F.3d ----, ----, 2010 WL 3431621, *1 (7th Cir. Sept. 2, 2010)
           (noting police tactic of recasting what would otherwise be a custodial interrogation as
           a non-custodial interview by telling the suspect that he is not under arrest and that he
           is free to leave), and *5 (holding defendant was “in custody” despite being repeatedly
           told that he was not under arrest and was free to leave based on other circumstances);

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 54 of 57




           phone call. See Gov’t Exh. 2 at 37:35-37:44. Further, the defendant was told that he

           was not going to jail prior to the photographs and items being removed from his

           pockets. These subsequent statements - - defendant was not going to jail and defendant

           would be able to make a phone call - - diminish the coercive nature of the stop

           following the defendant’s consent and the officers’ search of the truck.26 Also, the

           other factors outlined below weigh against finding the defendant to be “in custody.”

                 During and after the search, the defendant was not handcuffed or otherwise

           restrained. See generally Gov’t Exh. 2; T1:101. The officers continued to remain

           polite to him even after they discovered the currency as demonstrated by Thompson’s

           offer to retrieve items from the truck for defendant. See T1:102; Gov’t Exh. 2 at 37:30-

           37:34. The officers then retrieved articles from the truck for the defendant and allowed

           him to smoke. The officers did not brandish their weapons. T1:102. The defendant

           was not placed in the patrol car. He stood behind his truck, and he was questioned



           United States v. Newton, 369 F.3d 659, 676 (2d Cir. 2004) (finding that telling suspect
           that he is not under arrest did not carry same weight where the defendant was
           handcuffed).
                 26
                        Although the search extended the stop beyond one hour, this factor does
           not render the defendant in custody because the delay was based on the defendant’s
           consent. Cf. Ubaldo-Viezca, 2010 WL 3895710 at *6 (finding that although stop lasted
           over an hour, it was extended based on the consent to search).

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 55 of 57




           along the side of the road, in the view of passing traffic. See Berkemer, 468 U.S. at 438

           (noting that “exposure to public view both reduces the ability of an unscrupulous

           policeman to use illegitimate means to elicit self-incriminating statements and

           diminishes the motorist’s fear that, if he does not cooperate, he will be subjected to

           abuse”). Additionally, there is no evidence that the defendant “objected to the length

           of the stop or indicated that he wished to leave.” Ubaldo-Viezca, 2010 WL 3895710

           at *6. See T1:103-04. Finally, the defendant was in fact allowed to leave at the

           conclusion of the traffic stop. These factors along with the statement that the defendant

           was not going to jail indicate that the defendant was not “in custody” for Miranda

           purposes despite the presence of other coercive practices by the Georgia State Patrol.

                 Under the totality of the circumstances, the undersigned concludes that although

           the issue is extremely close, a reasonable person would not feel a restraint on his

           freedom associated with an arrest (even after the seizure became more coercive

           following the search of the tractor trailer) and that law enforcement did not violate the

           defendant’s Fifth Amendment rights by questioning the defendant without providing

           him with Miranda warnings.27 Accordingly, the undersigned RECOMMENDS that

                 27
                       See Ubaldo-Viezca, 2010 WL 3895710 at *6 (finding defendant was not
           in custody where defendant: did not object to the length of the stop or wished to leave;
           voluntarily complied with request to drive to “trooper shop,” the tone of the

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AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 56 of 57




           the defendant’s motion to suppress his statements to the Georgia State Patrol officers

           be DENIED.

                        Conclusion

                 For the aforementioned reasons, the undersigned RECOMMENDS that the

           defendant’s motions to suppress, [Docs. 175, 188], be DENIED.

                 The undersigned has now ruled upon all pretrial motions as to this defendant, and

           has not been advised of any problems preventing the scheduling of trial. Therefore, this

           case as to the defendant named above is CERTIFIED READY FOR TRIAL.



           conversation and interactions were casual; was not touched or restricted in movement;
           and had no guns pointed at him); cf. United States v. Perdue, 8 F.3d 1455, 1464-65
           (10th Cir. 1993) (concluding that motorist was in custody where defendant was forced
           out of his car at gunpoint, questioned while face down on the ground by officers who
           kept their guns drawn while police helicopters hovered, and police also pointed guns
           at pregnant fiancee); United States v. Dolson, 673 F. Supp. 2d 842, 872-73 (D. Minn.
           2009) (finding defendant “in custody” where officer was in the process of confining
           defendant in patrol car, the stop was on an isolated rural highway, there was no
           explanation as to why defendant was asked to leave his car, the officer used a harsh
           tone and began to draw his sidearm when questioned about a pat down, the officer
           nodded, “no” when defendant asked to call an attorney, and the officer directed
           defendant’s movements). But see United States v. Richardson, 700 F. Supp. 2d 1040,
           1052 (N.D. Ind. 2010) (concluding that defendant was not “in custody” during a pat
           down performed in a traffic stop, but was in custody after pat down revealed
           contraband (narcotics) because reasonable person would not feel free to leave upon
           discovery); United States v. Ortega, 379 F. Supp. 2d 1177, 1186 (D. Kan. 2005)
           (concluding defendant was “in custody” during traffic stop after defendant was told that
           drug dog had alerted to scent in his vehicle).

                                                     54


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00361-RWS-AJB Document 298 Filed 10/26/10 Page 57 of 57




           However, it is not necessary to place this defendant’s case on the trial calendar as

           matters    relating   to   his   co-defendants   are   still   pending   before   the

           undersigned. 18 U.S.C. § 3161(h)(6).

                   IT IS SO CERTIFIED AND RECOMMENDED, this the 25th day of October,

           2010.




                                            ALAN J. BAVERMAN
                                            UNITED STATES MAGISTRATE JUDGE




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AO 72A
(Rev.8/8
2)
